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 9
                                 UNITED STATES DISTRICT COURT
10
                            CENTRAL DISTRICT OF CALIFORNIA
11
12     ENTTECH MEDIA GROUP LLC                  Case No. 2:20-cv-06298-JWH (Ex)
13                  Plaintiff,
                                                PLAINTIFF’S PORTION OF JOINT
14             v.                               STIPULATION RE ENTTECH
                                                MEDIA GROUP LLC’S MOTION
15     OKULARITY, INC., et al.                  FOR EVIDENTIARY SANCTIONS
                                                UNDER RULE 37(c) FOR NON-
16                  Defendants.                 DISCLOSURE OF DAMAGES
                                                COMPUTATION AND
17                                              EVIDENTIARY MATERIAL
                                                UNDER RULE 26(a)
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               PTF’S PORTION OF STIP RE ENTTECH’S MOTION FOR SANCTIONS UNDER RULE 37(c)
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 1          Pursuant to Local Rule 37-2.1, Plaintiff/Counterclaim-Defendant ENTTech Media
 2 Group LLC (“Plaintiff”) submits its portion of the Joint Stipulation containing all issues
 3 in dispute with respect to ENTTech’s Motion to Compel concerning Counterclaimants’
 4 Amended Initial Disclosures and seeking the remedies set forth in FRCP 37 (a)(4)(A) and
 5 FRCP 37(c)(1).
 6          The parties met and conferred pursuant to Central District Local Rule 37-1 on
 7 March 26, 2021. ENTTech sent Counterclaimants’ counsel ENTTech’s portion of the
 8 Joint Stipulation on April 14, 2021, and Counterclaimants sent a pdf of a joint statement
 9 on April 21, 2021. On April 22, 2021, counsel for ENTTEch requested a word version to
10 make revisions and finalize, however, none was provided, for reasons provided over
11 email exchanges this day attached as Exhibit F to the Declaration of
12 Robert Tauler. Pursuant to this exchange, only ENTTech’s portion of the dispute is
13 attached hereto.
14
15 DATED: April 22, 2021                                 TAULER SMITH LLP
16
                                                         By: /s/ Robert Tauler
17
                                                         Robert Tauler, Esq.
18                                                       Attorneys for Plaintiff and
                                                         Counterclaim-Defendant
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               PTF’S PORTION OF STIP RE ENTTECH’S MOTION FOR SANCTIONS UNDER RULE 37(c)
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 1 I.           PLAINTIFF’S ARGUMENT.
 2              Counterclaimants have failed to comply with Federal Rule of Civil Procedure
 3 26(a)(1)(A)(iii) requiring a party to make initial disclosures containing substance useful
 4 to the litigants, including identification of witnesses, categories of relevant documents in
 5 a party’s possession, and a computation of damages.
 6              Counterclaimants served their Initial Disclosures on February 18, 2021. On March
 7 25, 2021, ENTTech sent Counterclaimants a meet and confer letter regarding deficiencies
 8 in Counterclaimants’ Initial Disclosures, and the parties met and conferred on March 26,
 9 2021. On April 5th, Plaintiff sought confirmation that no amended disclosures were
10 forthcoming, and on April 7th, Counterclaimants confirmed. These communications are
11 memorialized in Exhibits B-E to the concurrently filed declaration of Robert Tauler.
12              The purposes of the initial disclosure requirements are to put parties on notice of
13 the factual and legal contentions of the opposing party, and to eliminate surprise and trial
14 by ambush. See, e.g., Ollier v. Sweetwater Union High School Dist., 768 F.3d 843, 862–
15 63 (9th Cir. 2014). Counterclaimants have failed to do so as detailed herein.
16              A.      Witnesses.
17              The Disclosures only list three witnesses, (1) “PMK of Backgrid,” (2) “PMK of
18 Splash,”1 and (3) “PMK of XPosure.” (Tauler Dec., Ex A). This does not provide any
19 meaningful information for the recipient. Plaintiff is entitled to know Counterclaimant’s
20 witnesses. Moreover, there is no such thing as a “PMK” in the federal rules of civil
21 procedure. Even if there were, the initial disclosures must contain names of witnesses,
22 not simply the names of the parties with the letters “PMK” in front of them. This is not
23 useful information in any way. Even if there were any legitimate excuse for not
24 disclosing this information, it is Counterclaimants’ burden to provide information
25 required “to explain in its Rule 26 initial disclosures the extent of any disability” to
26 comply with the disclosure obligations, and the explanation “must be specific.”
27
28    1
          Splash is no longer in this case, and is not the subject of this motion.
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                     PTF’S PORTION OF STIP RE ENTTECH’S MOTION FOR SANCTIONS UNDER RULE 37(c)
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 1 Brandywine Commc’ns Techs., LLC v. Cisco Sys., Inc., 2012 WL5504036, at *3 (N.D.
 2 Cal. Nov. 13, 2012).
 3          B.      Categories of Documents.
 4          As to documents, Counterclaimants state that only the following documents are
 5 available to them:
 6       • Copyright registrations and photographs at issue;
 7       • All chain of title documents related to the photographs at issue, including
 8          assignments thereof;
 9       • All screenshots of the infringements caused by ENTTech;
10       • All DMCA notices and counternotifications relating to ENTTech’s infringements;
11       • All documents attached to the complaint.
12          Four out of the five categories are included as exhibits to the Counterclaims, and
13 the “chain of title documents” have not been produced, despite being requested on March
14 25, 2021. Counterclaimants may not withhold categories of information available to
15 them, and the Court should preclude Counterclaimants from using any categories of
16 documents withheld. Yeti by Molly v. Deckers Outdoor Corp., 259 F.3d 1101, 1106 (9th
17 Cir. 2001) (“forbidding the use at trial of any information required to be disclosed by
18 Rule 26(a) that is not properly disclosed . . . .”).
19          C.      Damages.
20          Federal Rule of Civil Procedure 26(a)(1)(A)(iii) requires a party to disclose as part
21 of its initial disclosures “a computation of each category of damages claimed by the
22 disclosing party—who must also make available for inspection and copying under Rule
23 34 the documents or other evidentiary material . . . on which each computation is based,
24 including materials bearing on the nature and extent of injuries suffered.”
25          Counterclaimants’ Initial Disclosures provide only a vague, generic placeholder,
26 but no computations for any category of damages claimed and no description of the
27 documents on which the Counterclaimants rely to calculate its damages. (Brandywine
28 Commc’ns Techs., LLC v. Cisco Sys., Inc., 2012 WL5504036, at *2 (N.D. Cal. Nov. 13,
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                 PTF’S PORTION OF STIP RE ENTTECH’S MOTION FOR SANCTIONS UNDER RULE 37(c)
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 1 2012) [Plaintiff’s damages computation “must call out the particular materials relied on
 2 and identify them in some plausible way so as to clarify the basis for the disclosed
 3 computations.”].)
 4          A computation of damages for lost profits or earnings requires as part of the initial
 5 disclosures “some analysis” because “by its very terms Rule 26(a) requires more than
 6 providing—without any explanation—undifferentiated financial statements; it requires a
 7 ‘computation,’ supported by documents.” Frontline Med. Assocs., Inc., v. Coventry
 8 Health Care, 263 F.R.D. 567, 569 (C.D. Cal. 2009). Therefore, a plaintiff must disclose,
 9 for example, “the time period for which it is claiming damages,” “computation of lost
10 gross revenues,” and “computation of expenses and lost profits.” Id. “Simply producing
11 financial statements without this type of explanation is not sufficient.” Id. Initial
12 disclosures regarding damages computations also “must call out the particular materials
13 relied on and identify them in some plausible way so as to clarify the basis for the
14 disclosed computations.” Brandywine Commc’ns Techs., LLC v. Cisco Sys., Inc., 2012
15 WL 5504036, at *2 (N.D. Cal. Nov. 13, 2012).
16          Counterclaimants have no valid justification for failing to comply with its
17 disclosure obligations regarding its damages theories because all of the evidence and
18 documents potentially supporting such damages theories would be in Counterclaimants’
19 possession. For example, only Counterclaimants could know the market value of the
20 images at issue, yet this information is not provided.
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               PTF’S PORTION OF STIP RE ENTTECH’S MOTION FOR SANCTIONS UNDER RULE 37(c)
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 1          D.      Conclusion.
 2          For the foregoing reasons, the motion should be granted, and the moving party
 3 should be awarded its fees and costs under FRCP 37 (a)(4)(A) and the remedies detailed
 4 in FRCP 37(c)(1).
 5
 6 DATED: April 22, 2021                                   TAULER SMITH LLP
 7
                                                           By: /s/ Robert Tauler
 8
                                                           Robert Tauler, Esq.
 9                                                         Attorneys for Plaintiff and
                                                           Counterclaim-Defendant
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                                                           ENTTech Media Group LLC
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 1                                CERTIFICATE OF SERVICE
 2         I hereby certify that on April 22, 2021, copies of the foregoing document were
 3 served by the Court’s CM/ECF system to all counsel of record in this action.
 4
 5 DATED: April 22, 2021                                 TAULER SMITH LLP
 6
                                                         By: /s/ Robert Tauler
 7
                                                         Robert Tauler, Esq.
 8                                                       Attorneys for Plaintiff and
                                                         Counterclaim-Defendant
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